                  Case:
ILND 450 (Rev. 10/13)     1:24-cv-00200
                      Judgment in a Civil Action Document #: 4 Filed: 01/26/24 Page 1 of 1 PageID #:50


                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Nikko D' Ambrosio,

    Plaintiff(s),
                                                                  Case No. 24 cv 200
    v.                                                            Judge Sharon Johnson Coleman

    Meta Platforms, Inc. et al,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which      includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


               other: Because the Court does not have subject matter jurisdiction over this case, the Court
dismisses this case.

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge Sharon Johnson Coleman.



Date: 1/26/2024                                            Thomas G. Bruton, Clerk of Court

                                                           Yvette Montanez, Deputy Clerk
